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March 25, 2019

Via CM/ECF

Hon. Robert B. Kugler

United States District Court, District of New Jersey
Mitchell H. Cohen Building & U.S. Courthouse
4th & Cooper Streets, Room 1050

Camden, NJ 08101

RE: Valsartan N-Nitrosodimethylamine (NDMA) Contamination Products
Liability Litigation, 1:19-md-02875-RBK-JS

Dear Judge Kugler:

I represent Plaintiff Richard Gonteski in Gonteski vy, Huahai US, Inc., et al., 3:18-cv-14858 (D.
N.J.). Pursuant to paragraph 5 of the Court’s February 25, 2019 MDL Case Management Order
No. 1, (Dkt. 5), I am designating Paul Geske of McGuire Law, P.C., counsel for Plaintiff Robert
Kruk in Kruk v. Zhejiang Huahai Pharm. Co., Ltd., et al., 1:19-cv-06211, to appear on my behalf
at the upcoming initial case management hearing on March 27, 2019 and to represent Mr.
Gonteski’s interests at the hearing.

Please feel free to contact me if you have any questions or need any additional information.
Respectfully submitted,

/s/James C. Shah

James C. Shah

JCS/sm

cc: Counsel of Record (Via CM/ECF)

+ Admitted to practice law in CA, NJ, NY, PA and WI

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